   Case 3:15-cv-03453-D Document 45 Filed 02/26/16                   Page 1 of 2 PageID 997


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR                       §
CORPORATION,                                    §
                                                §
                               Plaintiff,       §
                                                § Civil Action No. 3:15-CV-3453-D
VS.                                             §
                                                §
ORR SAFETY CORPORATION,                         §
                                                §
                               Defendant.       §

                                              ORDER

                                                  I

       Defendant Orr Safety Corporation’s (“Orr’s”) February 19, 2016 motion for a temporary

restraining order is carried with its motion for a preliminary injunction. Orr’s February 26, 2016

request for additional relief is also carried with its motion for a preliminary injunction.

                                                  II

       Given the procedure specified in the court’s order for considering Orr’s motion for a

preliminary injunction, the court grants Orr’s February 19, 2016 motion for expedited discovery as

follows.

       The parties may take the deposition of a party deponent on three business days’ notice.

Notice to a party deponent may require the deponent to produce documents and tangible things at

the deposition.

       The parties may serve requests for production under Fed. R. Civ. P. 34 that require responses

in three business days. See Rule 34(b)(2)(A).

       Absent the parties’ stipulation, no other form of discovery related to Orr’s motion for a

preliminary injunction may be conducted with respect to a party on an expedited basis, and no
   Case 3:15-cv-03453-D Document 45 Filed 02/26/16                  Page 2 of 2 PageID 998


discovery may be conducted with respect to a non-party on an expedited basis, unless the party first

obtains leave of court.

       The discovery permitted by this order is limited in scope to that which is reasonably

necessary for a party to support or oppose Orr’s motion for a preliminary injunction. But discovery

otherwise within the scope of Rule 26(b)(1) is not prohibited under this order, provided it is also

relevant to the merits of Orr’s motion for a preliminary injunction.

       This order does not prohibit a party from obtaining evidence given voluntarily by a party or

non-party witness (e.g., a party’s own affidavit or declaration, or the affidavit or declaration of a

non-party).

       SO ORDERED.

       February 26, 2016.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE




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